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        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 15-0763V
                                     Filed: March 20, 2017
                                          Unpublished

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MARY JO MALEPORT,                      *
                                       *
                   Petitioner,         *       Joint Stipulation on Damages;
v.                                     *       Tetanus-diphtheria-acellular pertussis
                                       *       (“Tdap”) Vaccine; Brachial Neuritis;
SECRETARY OF HEALTH                    *       Shoulder Injury Related to Vaccine
AND HUMAN SERVICES,                    *       Administration (“SIRVA”); Special
                                       *       Processing Unit (“SPU”)
                   Respondent.         *
                                       *
****************************
Mark T. Sadaka, Mark T. Sadaka, LLC, Englewood, NJ, for petitioner.
Robert P. Coleman, III, U.S. Department of Justice, Washington, DC, for respondent.

                              DECISION ON JOINT STIPULATION 1

Dorsey, Chief Special Master:

        On July 21, 2015, Mary Jo Maleport (“petitioner”), filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered brachial
neuritis and a shoulder injury related to vaccine administration (“SIRVA”) as a result of
receiving the tetanus-diphtheria-acellular pertussis (“Tdap”) vaccine on or about July 31,
2012. Pet. at 1-2; Stip., filed Mar. 17, 2017, at ¶¶ 1, 2, 4. Petitioner further states that
the vaccine was administered in the United States, that she experienced the residual
effects of her injury for more than six months, and that there has been no prior award or
settlement of a civil action for damages as a result of her condition. Pet. at ¶¶ 2, 6; Stip.
at ¶¶ 3-5. Respondent denies that the Tdap vaccine is the cause of petitioner’s alleged
brachial neuritis or SIRVA, and/or any other injury or her current condition. Stip. at ¶ 6.



1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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        Nevertheless, on March 17, 2017, the parties filed the attached joint stipulation,
stating that a decision should be entered awarding compensation. The undersigned
finds the stipulation reasonable and adopts it as the decision of the Court in awarding
damages, on the terms set forth therein.

        The parties stipulate that petitioner shall receive the following compensation:

        1) A lump sum of $30,000.00 in the form of a check payable to petitioner.
           This amount represents compensation for all damages that would be
           available under 42 U.S.C. § 300aa-15(a); and

        2) A lump sum of $1,490.02, which amount represents reimbursement of a
           State of Michigan lien, in the form of a check payable jointly to petitioner
           and

                        Michigan Department of Health and Human Services
                                        P.O. Box 30435
                                     Lansing, MI 48909-7979
                                      Attn: Christine Steel

        Petitioner agrees to endorse the check to the Michigan Department of Health and
        Human Services. Stip. at ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court is directed to enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.

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